Case 3:20-cv-00132-RGJ Document 119 Filed 05/16/23 Page 1 of 1 PageID #: 3503




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION



 THE HONORABLE ORDER OF                       )
 KENTUCKY COLONELS, INC.                      )
                                              )
        PLAINTIFF                             )
                                              )
 v.                                           ) CIVIL ACTION NO. 3:20-cv-132-RGJ
                                              )
 KENTUCKY COLONELS                            )
 INTERNATIONAL, et al.                        )
                                              )
        DEFENDANTS                            )



                                           ORDER

       Upon motion of Plaintiff, The Honorable Order of Kentucky Colonels, Inc. (“HOKC”), to

hold in abeyance HOKC’s time for filling responses to (1) Defendant’s Response to Court Order

[DE-105], Counter-Response and Opposition to Plaintiff’s Response to the Court’s Show Cause

Directive, and Motion to Charge Plaintiff for Contempt [DN 113] and (2) Defendants’ Special

Motion to Dismiss SLAPP Action with Statements in Fact with Merit [DN 116]; the Court being

otherwise duly and sufficiently advised;

 IT IS HEREBY ORDERED that Plaintiff’s motion [DE 118] be, and it is hereby, GRANTED.




                                                          May 16, 2023
